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                                              December 13, 2021

FILED VIA ELECTRONIC FILING
The Honorable Leonard P. Stark
U.S. District Court for the District of Delaware
844 North King Street
Wilmington, Delaware 19801

         Re:          Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, et al.,|
                      No. 1:17-mc-151-LPS

Dear Judge Stark:

                In their supplemental opening brief regarding sanctions issues, D.I. 408 at 6-7, the
Venezuela Parties cited three executive orders for overlapping restrictions on transactions related
to the sale or purchase of PDV Holding, Inc. shares—Executive Orders 13850, 13835, and 13808.
The Venezuela Parties write to address an issue regarding one of these three orders—Executive
Order 13808—raised in Crystallex’s reply briefing, D.I. 421 at 6-7. Specifically, the Venezuela
Parties agree with Crystallex that Section 1(b) of Executive Order 13808 does not include the
“related to” language that is included in Section 1(a) of that order. The Venezuela Parties regret
having made this error, and hereby withdraw reliance on Executive Order 13808. That error,
however, is inconsequential, as the other two cited executive orders serve as authority for the
arguments presented at page 7 of their opening brief, D.I. 408 at 7.

                                                     Respectfully submitted,

                                                     /s/ Kenneth J. Nachbar

                                                     Kenneth J. Nachbar (#2067)

cc: All Counsel of Record (Via E-Filing)
